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                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                              BROWNSVILLE DIVISION

UNITED STATES OF AMERICA                  §

       vs.                                §       CRIMINAL NO. B-00-118

OZIEL CARDENAS-GUILLEN, ET AL. §

                              NOTICE OF SUBSTITUTION

       COMES NOW the United States Attorney for the Southern District of Texas by and

through its Assistant United States Attorney and files this notice to substitute the attorney

of record in this case.


                                                  Respectfully submitted,

                                                  ALAMDAR S. HAMDANI
                                                  UNITED STATES ATTORNEY

                                          By:     s/ Lance Watt
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